                                                                                   ?017R00370 - OA2




This original Certificate of Authenticity MUST be
signed ancl attached to al-l- records, whether produced                               on
paper or e.l-ectronic media.

             CERTTFICATE OF AUTHENTICITY OF BUSINESS RECORDS
                 (Gr.:ncl Jur:y Subpoena
                                   '            2017R00370-2            )
                                        Jamielh-Ienti-
                                      Subpoena Specialist
       I, the undersigned,                                                   , do hereby
certify and declare under penalLy of perjury that I                         am:
                                                    t-rtth Third Bank
empJ-oyed    bylassociated vrith
in the position of
and by reason of     my    position    am   authorized and qualified to            make

this declaration.
      I furthe:: decl-are that the documents attached heret-o are
original records or true copi es of records of business
transactions of the above-named business which:
       1.    rvere made    at or near the time of t-he
             occurrence of Lhe matters set fort-h by, or
             from information transrnitted by, a person
             '"rith knor.iledge of those matters,.
       2.    were kept in the course of regularJ-y
             conducted activity;
       3.    r.rere madeby the regularl y conducted
             act.ivity as a reguJ-ar practice; and
       4.    if not original records, are dupllcates of
             original records.

Dare   or execurion:                    tO/S/t,l
Pl-ace of execution:                  Fillh Third Bank



Signature:




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Fifth Third Bank
5050 Kingsley Dr.
MD 1MOC2Q-3723                                                            FIFTH THIRD BANK"
Cincinnati. Ohio 45263



FRANK J CHUT JR
AUSA
 101 S Edgeworth St
4th Floor
Greensboro NC 27401'


 Fifth Third   lD   149489
 RE                 PAULA BULLoCK,      xxxxxx6363, xxxxxx6355




                                      Thursday, October 05, 2017

 To Whom lt May ConcBrn:


                                                                                                 request are
 This letter certifles that the documents provided in response to the above-referenced
                                            oiiginal statements,  check_s,  deposits, loan files, and/or other
 ,rit'""ii.'r"proor"tions of Filth Third
 Jocuments,'maintained       in the ordinary course   of businel:  ry Fifth Third Bank'


 Please be advised that any cDs provided within this package include
                                                                         confidential information and
                                                            instructions to view the CD have been
 ineieJore tne COs are encrypted. tf applicable, additional
 pr"riO"Jri"       or fax. liyou have any  questions   please call Legal Operations  at (513) 358-9355.
                "rrif
 Thank you,




*,**illr;t,
  Records Custodian
  Fax: 513-358-1279




                                                     Page 1 of   1




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